ILND 450 (Rev. 10/13) Judgment in a Civil Action


                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

Andres A. Perez, et al.,

Plaintiffs,
                                                                   Case No. 21-cv-00013
v.                                                                 Judge Manish Shah

Elite Valet Systems, Inc. et al.,

Defendants.

                                                   JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)

          Defendant(s) shall recover costs from plaintiff(s).


                other: in favor of Plaintiff Andres Perez and against Defendants in the amount of $33,467.23; in
favor of Plaintiff Alfredo Trejo and against Defendants in the amount of $19,504.34; and in favor of Plaintiff
Jose Najera and against Defendants in the amount of $36,114.61. Plaintiffs may recover attorneys’ fees and
costs using the procedures set by Fed. R. Civ. P. 54, Local Rule 54.1, and Local Rule 54.3.

This action was (check one):

     tried by a jury with Judge Manish Shah presiding, and the jury has rendered a verdict.
     tried by Judge Manish Shah without a jury and the above decision was reached.
     decided by Judge Manish Shah on a motion.



Date: 6/14/2021                                                Thomas G. Bruton, Clerk of Court
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                                                   /Susan McClintic , Deputy Clerk
